          Case 2:24-cv-01218-JNW     Document 49-1      Filed 11/08/24   Page 1 of 5



 1                                                 THE HONONORABLE JAMAL N. WHITEHEAD
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 3                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 4                                     AT SEATTLE
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     JOHN ELLIOTT, RICARDO                 No. 2:24-cv-01218-JNW
 7   CAMARGO, JAVIER ROVIRA, and
     BRADLEY SMITH,
 8                                         [PROPOSED] ORDER CONSOLIDATING
                   Plaintiffs,             RELATED ACTIONS UNDER LOCAL CIVIL
 9                                         RULE 42
             v.
10
     VALVE CORPORATION,
11
                   Defendants.
12
     CONNOR HEPLER and AARON                  No. 2:24-cv-01735-JNW
13   LANCASTER, Individually and on
     Behalf of All Others Similarly Situated,
14
     Plaintiffs,
15
     v.
16
     VALVE CORPORATION,
17
     Defendants.
18
     BRANDON DRAKE and ERIC                   No. 2:24-cv-01743-MLP
19   SAAVEDRA, Individually and on
     Behalf of All Others Similarly Situated,
20
     Plaintiffs,
21
     v.
22
     VALVE CORPORATION,
23
     Defendants.
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     PROPOSED ORDER CONSOLIDATING
     RELATED ACTIONS
     2:24-cv-01218-JNW
       Case 2:24-cv-01218-JNW            Document 49-1        Filed 11/08/24       Page 2 of 5



 1           Before the Court is the Joint Motion to Consolidate Related Actions of Plaintiffs John Elliott,
 2   Ricardo Camargo, Javier Rovira, and Bradley Smith (“Elliott Plaintiffs”); Connor Hepler and Aaron
 3   Lancaster (“Hepler Plaintiffs”); and Brandon Drake and Eric Saavedra (“Drake Plaintiffs”). Having
 4   considered the parties’ positions, the Court hereby GRANTS the motion and ORDERS:
 5      1.   The following related actions shall be consolidated for all pretrial purposes into Elliott et al.
 6           v. Valve Corporation, No. 2:24-cv-01218-JNW (W.D. Wash.): Hepler et al. v. Valve
 7           Corporation, No. 2:24-cv-01735-JNW (W.D. Wash.); and Drake et al. v. Valve Corporation,
 8           No. 2:24-cv-01743-MLP (W.D. Wash.).
 9      2. Any actions related to the consolidated actions that are brought on behalf of consumers that
10           have purchased PC video games on Steam and that are subsequently filed in or transferred to
11           this District shall be consolidated herewith.
12      3. The Clerk shall establish a Docket for the Actions under Civil Action No. 2:24-cv-01218-
13         JNW. All papers filed in the Actions shall be filed on the Docket and shall bear the caption:
      IN RE: VALVE CONSUMER ANTITRUST
14                                                     Civil Action No.: 2:24-cv-01218-JNW
      LITIGATION
15      4. Within seven (7) days of the appointment of interim class counsel, the parties will file a
16           stipulation on the schedule.
17           IT IS SO ORDERED
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21           DATED this ___ day of ___________, 2024.
22

23                                                 ______________________________________
24                                                 Hon. Jamal N. Whitehead
25                                                 United States District Judge
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     PROPOSED ORDER CONSOLIDATING
     RELATED ACTIONS
     2:24-cv-01218-JNW
       Case 2:24-cv-01218-JNW       Document 49-1    Filed 11/08/24      Page 3 of 5



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     PROPOSED ORDER CONSOLIDATING
     RELATED ACTIONS
     2:24-cv-01218-JNW
       Case 2:24-cv-01218-JNW       Document 49-1   Filed 11/08/24      Page 4 of 5



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     PROPOSED ORDER CONSOLIDATING
     RELATED ACTIONS
     2:24-cv-01218-JNW
       Case 2:24-cv-01218-JNW       Document 49-1   Filed 11/08/24   Page 5 of 5



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     PROPOSED ORDER CONSOLIDATING
     RELATED ACTIONS
     2:24-cv-01218-JNW
